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       UNITED STATES COURT OF APPEALS FOR THE THIRD CIRCUIT

                                                                        DCO-104
                                      No. 25-1550

                               NOVARTIS AG;
                      NOVARTIS PHARMACEUTICALS CORP

                                             v.

                      NOVADOZ PHARMACEUTICALS LLC;
                        MSN PHARMACEUTICALS INC.;
                     MSN LABORATORIES PRIVATE LIMITED,
                                       Appellants

                              (D.N.J. No. 2:25-cv-00849)

Present: PHIPPS and CHUNG, Circuit Judges

      1.      Motion by Appellants to Expedite Briefing, Argument and Disposition;

      2.      Appellees’ Response to Motion to Expedite;

      3.      Reply in Support of Motion to Expedite;

      4.      Status Report by Appellees;

      5.      Status Report by Appellants;

      6.      Appellees’ Expedited Motion to Stay Pending Appeal to Restore the
              District Court’s Preliminary Injunction; and

      7.      Appellants’ Letter Response to Motion to Stay.

      8.      Motion filed by Appellants for Limited Remand


                                                        Respectfully,
                                                        Clerk/sb

_________________________________ORDER________________________________
      The foregoing are considered. The Appellants’ motion for limited remand is
GRANTED. The Appellants’ motion to expedite the appeal of the preliminary injunction
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is STAYED pending remand. The parties are directed to promptly inform the Clerk as to
the date and disposition of the proceedings on remand. The Appellees’ expedited motion
to stay pending appeal to restore the District Court’s preliminary injunction is DENIED
as moot.



                                                      By the Court,

                                                      s/ Cindy K. Chung
                                                      Circuit Judge

Dated: June 4, 2025
Gch/cc: All Counsel of Record

                                                             A True Copy:



                                                             Patricia S. Dodszuweit, Clerk
